         Case 5:18-cv-00555-XR Document 275-4 Filed 09/18/20 Page 1 of 6

      DANIELLE LEE SMITH                                         August 14, 2020
      HOLCOMBE vs USA                                                          1

·1· J5919512 eb

·2

·3· · · · · IN THE UNITED STATES DISTRICT COURT
· · · · · · ·FOR THE WESTERN DISTRICT OF TEXAS
·4

·5·    JOE HOLCOMBE, ET AL· · · · ·*
· ·    · · · · · · · · · · · · · · *
·6·    VS.· · · · · · · · · · · · ·* CIVIL ACTION
· ·    · · · · · · · · · · · · · · * NO.: 5:18-CV-00555-XR
·7·    · · · · · · · · · · · · · · *
· ·    UNITED STATES OF AMERICA· · *
·8

·9

10

11
· · · · ·VIDEOCONFERENCE ORAL & VIDEOTAPED DEPOSITION OF
12· · · · · · · · · · ·DANIELLE LEE SMITH
· · · · · · (FORMERLY KNOWN AS DANIELLE LEE KELLEY)
13

14· · · ·(Reported Remotely pursuant to the Emergency
· · · · ·Order Regarding the COVID-19 State of Disaster)
15

16

17

18

19· Date· · · · · · · · · ·Edith A. Boggs, CSR

20

21· 8-14-2020· · · · · · · HOUSTON, TEXAS

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      Case 5:18-cv-00555-XR Document 275-4 Filed 09/18/20 Page 2 of 6

   DANIELLE LEE SMITH                                         August 14, 2020
   HOLCOMBE vs USA                                                        218

·1· · · ·Q.· Can you explain to the judge why Devin Kelley
·2· did not like used guns -- used guns?
·3· · · ·A.· He wanted --
·4· · · · · · · · MR. STERN:· Objection, calls for
·5· speculation.
·6· · · ·A.· He wanted them to be brand new because he likes
·7· new guns.
·8· · · ·Q.· (BY MR. WEBSTER)· And why did he like new guns?
·9· · · ·A.· He wanted them to be able to work properly.
10· · · ·Q.· Was he afraid that some of the -- did the older
11· guns that he had -- that he had swapped for the dog and
12· the shotgun didn't work correctly, in your -- from what
13· you understood, correct?
14· · · ·A.· I guess he did not want them to malfunction.
15· · · ·Q.· Okay.· And so, all the guns that he ever looked
16· at, at least window shopping with you, all of those guns
17· were all new, was the only thing he would look at,
18· right?
19· · · ·A.· Yes.
20· · · · · · · · MR. STERN:· Objection.· She previously
21· testified that she was not -- she was not paying
22· attention when he was looking at firearms.
23· · · ·Q.· (BY MR. WEBSTER)· Let me ask it a different
24· way.
25· · · · · · · · When he would look at firearms and would


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      Case 5:18-cv-00555-XR Document 275-4 Filed 09/18/20 Page 3 of 6

   DANIELLE LEE SMITH                                         August 14, 2020
   HOLCOMBE vs USA                                                        221

·1· · · ·Q.· Okay.· Did he rush and try to call any private
·2· individuals that you're aware of to purchase a gun?
·3· · · ·A.· No.
·4· · · ·Q.· Later he -- he took you with him approximately
·5· four months later to the Academy where they sold him the
·6· gun; is that correct?
·7· · · ·A.· Correct.
·8· · · ·Q.· And you're not aware of anybody coming to the
·9· house, any conversations you saw him have or anything
10· like that where he would have tried to purchase a gun
11· from anyone other than what we would call a licensed
12· dealer, correct?
13· · · ·A.· Correct.
14· · · · · · · · MR. STERN:· Speculation.
15· · · ·Q.· (BY MR. WEBSTER)· And -- and the reason -- and
16· the reason you -- and what is the reason you believe
17· that he -- he did not try to buy the AR-556 say off the
18· black market?
19· · · · · · · · MR. STERN:· Objection, speculation.
20· · · ·A.· He liked to go to a reputable dealer.
21· · · ·Q.· (BY MR. WEBSTER)· And that was because he
22· wanted new guns?
23· · · ·A.· Yes.
24· · · ·Q.· Did he ever tell you he liked guns that won't
25· jam?


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      Case 5:18-cv-00555-XR Document 275-4 Filed 09/18/20 Page 4 of 6

   DANIELLE LEE SMITH                                         August 14, 2020
   HOLCOMBE vs USA                                                        226

·1· counseling?
·2· · · ·A.· No.
·3· · · ·Q.· Did you want him to go?
·4· · · ·A.· At times, yes, because I wanted him to leave me
·5· alone.
·6· · · ·Q.· You wanted him to stop what he was doing,
·7· correct?
·8· · · ·A.· Yes.
·9· · · ·Q.· And so, just so we're clear, when you would
10· threaten to divorce him or to leave him, he would not
11· only just threaten you but he would threaten domestic
12· violence and death against other family members?
13· · · · · · · · MR. STERN:· Objection.
14· · · ·Q.· (BY MR. WEBSTER)· Is that correct?
15· · · ·A.· Yes.
16· · · · · · · · MR. STERN:· Objection.
17· · · ·Q.· (BY MR. WEBSTER)· Now, when y'all were --
18· when -- during the times -- I'm going to skip around a
19· minute again.
20· · · · · · · · When you -- going back to the times you
21· went to the gun store, for instance, at Dick's that day
22· when they determined that -- when they told him his ID
23· wouldn't work, did you ever try to buy a gun for Devin
24· Kelley?
25· · · ·A.· No.


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      Case 5:18-cv-00555-XR Document 275-4 Filed 09/18/20 Page 5 of 6

   DANIELLE LEE SMITH                                         August 14, 2020
   HOLCOMBE vs USA                                                        227

·1· · · ·Q.· Would you ever buy a gun for Devin Kelley?
·2· · · ·A.· No.
·3· · · ·Q.· What if he said you -- what if he threatened to
·4· beat you if you didn't go and buy a gun?
·5· · · ·A.· I'd take the beating.
·6· · · ·Q.· Why is that?
·7· · · ·A.· Because I didn't want to buy him a gun.
·8· · · ·Q.· He never asked you to buy one, correct?
·9· · · ·A.· Correct.
10· · · ·Q.· And never asked you to procure a gun for him in
11· any way, right?
12· · · ·A.· Correct.
13· · · ·Q.· He never asked you to buy ammunition for him,
14· did he?
15· · · ·A.· No.
16· · · ·Q.· And this guy -- this guy, being as controlling
17· as what you've testified before, at any -- at any given
18· time, did he ever ask your permission to buy any guns,
19· ammunition or magazines?
20· · · ·A.· No.
21· · · ·Q.· In fact, I think -- I think I remember reading
22· somewhere in the file -- you tell me if I'm wrong -- you
23· used to complain that he spent money y'all didn't have
24· on these things; is that correct?
25· · · ·A.· Yes.


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         Case 5:18-cv-00555-XR Document 275-4 Filed 09/18/20 Page 6 of 6

      DANIELLE LEE SMITH                                         August 14, 2020
      HOLCOMBE vs USA                                                        253

·1· COUNTY OF HARRIS· )

·2· STATE OF TEXAS· · )

·3

·4· · · · · · I hereby certify that the witness was notified

·5· on ____________________ that the witness has 30 days or

·6· (_____ days per agreement of counsel) after being

·7· notified by the officer that the transcript is available

·8· for review by the witness and if there are any changes

·9· in the form or substance to be made, then the witness

10· shall sign a statement reciting such changes and the

11· reasons given by the witness for making them;

12· · · · · · That the witness' signature was/was not

13· returned as of ____________________.

14· · · · · · Subscribed and sworn to on this, the 17th day

15· of August, 2020.

16

17

18

19
· ·   ______________________________
20·   Edith A. Boggs, CSR No. 3022
· ·   Firm Registration No. 03
21·   Expiration Date:· 7-31-2022
· ·   1235 North Loop West, Suite 510
22·   Houston, Texas· 77008
· ·   Ph. No.:· (713) 524-4600
23

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